   Case 1:21-cr-10104-PBS Document 250-19 Filed 08/02/23 Page 1 of 2


         Перевод с русского языка на английский язык / Translation from Russian into English



Children recovered from serious diseases rehab charity fund Sheredar
                  sending our sincere gratitude to

                                              OOO «M 13»
     for your help with SHARE DANCE BATTLE fundraising charitable event arrangement and
                                        execution.

  Your compassion lets us make this world better and help the children who had to overcome
 their fears and spend long months in hospitals. As well as bring them back their self-belief and
                            make them feel they are still little kids!




K.V. Davidson
the Head of charity fund Sheredar          /signature/

round seal: charity fund Sheredar



Thank you for you kind hearts, compassion and support.
Thank you for bringing the kids back the joys of life together with us.




Перевод с русского языка на английский язык сделан мной, переводчиком Кастрецкой Е.С.
The translation from Russian into English was performed by me, the translator Kastretskaya E.S.
Case 1:21-cr-10104-PBS Document 250-19 Filed 08/02/23 Page 2 of 2
